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                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  HUNTINGTON DIVISION


JUSTIN ADKINS, et al.,

                              Plaintiffs,

v.                                                   CIVIL ACTION NO. 3:18-0321

CSX TRANSPORTATION, INC., et al.,

                              Defendants.

                                     JUDGMENT ORDER

         With entry of the accompanying Memorandum Opinion and Order, the Court awards

summary judgment in favor of Defendants on the remaining claims. As all claims now have been

resolved in favor of Defendants, the Court ORDERS that judgment be issued in their favor and

that this case be dismissed and stricken from the docket of this Court.

         The Court DIRECTS the Clerk to send a certified copy of this Order to all counsel of

record, and any unrepresented parties.

                                             ENTER:          August 23, 2021




                                             ROBERT C. CHAMBERS
                                             UNITED STATES DISTRICT JUDGE
